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                                                                                          FORM 1
                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES
Case No:              20-61029                        RK              Judge:        Russ Kendig                                 Trustee Name:                      Lisa M. Barbacci
Case Name:            Fibercorr Mills LLC                                                                                       Date Filed (f) or Converted (c):   06/10/2021 (c)
                                                                                                                                341(a) Meeting Date:               07/29/2021
For Period Ending:    03/31/2022                                                                                                Claims Bar Date:                   01/07/2022


                                   1                                               2                            3                            4                          5                             6

                         Asset Description                                       Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                              Assets
                                                                                                         and Other Costs)

  1. Bank Account Balance at conversion                                                        0.00                 3,845.06                                                 3,845.06                           FA
  2. Home Savings Checking 7117                                                         46,017.10                        0.00                                                       0.00                        FA
  3. Cortland Bank Checking 2370                                                         1,567.93                        0.00                                                       0.00                        FA
  4. Cortland Bank Checking 3199                                                             578.24                      0.00                                                       0.00                        FA
  5. Prepaid Dryer Felt                                                                100,000.00                        0.00                                                       0.00                        FA
  6. Accounts Receivable                                                            1,192,127.98                         0.00                                                       0.00                        FA
  7. Raw Materials                                                                      15,000.00                        0.00                                                       0.00                        FA
  8. Finished Goods                                                                      6,000.00                        0.00                                                       0.00                        FA
  9. Lot of Office Furniture & Equipment--More fully described at                       10,000.00                        0.00                                                       0.00                        FA
     Line No. 86 on Appraisal attached hereto. Scheduled at
     Appraised Value.
 10. Vehicles and Trailers--More fully described at Line Nos. 73-78                     19,000.00                        0.00                                                       0.00                        FA
     and 80 on Appraisal attached hereto. Scheduled at appraised
     value.
 11. 2018 Ram 1500 More fully described on Line No. 79 of the                           18,000.00                        0.00                                                       0.00                        FA
     Appraisal attached hereto. Scheduled at Appraised Value.
 12. Machinery & Equipment--More fully described on Appraisal                       2,963,650.00                         0.00                                                       0.00                        FA
     attached hereto. Scheduled at appraised value.
 13. Corrugator--More fully described at Line No. 30 on Appraisal                   2,800,000.00                         0.00                                                       0.00                        FA
     attached hereto. Scheduled at Appraised Value.
 14. Corrugator- Programmable Logic Control with Profero Dual                           Unknown                          0.00                                                       0.00                        FA
     Arch Bridge Type Adhesive Application Unit (Subset of
     Corrugator at Line No. 30 on appraisal attached hereto.)
 15. Supplies Inventory--Replacement Parts for Production                           3,350,785.00                         0.00                                                       0.00                        FA
     Machinery (Valuation based on inventory completed
     12/31/2019)
 16. Corrugator- Fosber M2400 Roll Stands, Bowed Roll for                               Unknown                          0.00                                                       0.00                        FA
     Manual Alignment, Additional Track Length, Spare Lower Pick
     up Roll for Dual Arch Gluer (Subset of Corrugator at Line No.
     30 on appraisal attached hereto.)




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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              20-61029                          RK            Judge:        Russ Kendig                                  Trustee Name:                      Lisa M. Barbacci
Case Name:            Fibercorr Mills LLC                                                                                        Date Filed (f) or Converted (c):   06/10/2021 (c)
                                                                                                                                 341(a) Meeting Date:               07/29/2021
For Period Ending:    03/31/2022                                                                                                 Claims Bar Date:                   01/07/2022


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 17. 670 17th St NW, Massillon, OH 44647-5343 Lease of                                        0.00                        0.00                                                       0.00                        FA
     Manufacturing Facility from Cherry Springs of Massillon II LLC
     PPN 617463 Leashold
 18. 2016 Mazda CX-9 2WD More fully described on Line No. 77                            19,000.00                         0.00                                                       0.00                        FA
     of the Appraisal attached hereto. Scheduled at Appraised
     Value.
 19. 2014 Chevrolet Silverado More fully described at Line No. 78                       18,000.00                         0.00                                                       0.00                        FA
     on the Appraisal attached hereto. Scheduled at Appraised
     Value.
 20. Pre and post petiton review of financial affairs (u)                                Unknown                          1.00                                                       0.00                       1.00
 21. Sun Life Dividends (u)                                                              Unknown                          1.00                                                       0.00                       1.00


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                               $10,559,726.25                    $3,847.06                                                $3,845.06                         $2.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  (3/31/22) Continued review of documentation and financial affairs/transactions for pre and post petition period/conversion to chapter 7 (Asset No. 20).
  (9/30/21) Review of financial affairs/transactions for pre and post petition period and conversion to chapter 7 (Asset No. 20).
  (9/29/21) Pre and post petition review of financial affairs (Asset No. 20).
  (8/26/21) Order Granting MTLS and Abandonment 2018 Audi SQ5. Docket No. 368
  (8/03/21) Counsel for Trustee Employed by Order at Docket No. 359.
  (7/28/21) MTLS and Abandonment 2018 Audi SQ5. Docket No. 356
  (6/10/21) Lisa Barbacci added as Chapter 7 Trustee. Jointly administered cases Cherry Springs of Massillon II, LLC, Case No. 20-61030, and Shew Industries Inc.
  (6/10/2021) Order Converting Case from Chapter 11 to Chapter 7, Docket No.

  (6/19/20) Order Granting Joint Administration of Chapter 11 Cases, Docket No. 39




  RE PROP #             10    --   Originally scheduled at $56,000 and amended at Doc. No. 101 to $19,000




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Initial Projected Date of Final Report (TFR): 03/31/2023         Current Projected Date of Final Report (TFR): 03/31/2023

Trustee Signature:      /s/ Lisa M. Barbacci       Date: 04/25/2022
                        Lisa M. Barbacci
                        600 E Smith Rd.
                        Medina, OH 44256-2666
                        (330) 722-4488
                        barbaccitrustee@gmail.com




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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 20-61029                                                                                             Trustee Name: Lisa M. Barbacci
      Case Name: Fibercorr Mills LLC                                                                                       Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0985
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX3852                                                                              Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 03/31/2022                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   08/22/21             1       Fibercorr                                   Bank Funds at Petition Date                           1129-000                  $3,845.06                                 $3,845.06



                                                                                                            COLUMN TOTALS                                   $3,845.06                $0.00
                                                                                                                  Less: Bank Transfers/CD's                     $0.00                $0.00
                                                                                                            Subtotal                                        $3,845.06                $0.00
                                                                                                                  Less: Payments to Debtors                     $0.00                $0.00
                                                                                                            Net                                             $3,845.06                $0.00




                                                                                   Page Subtotals:                                                          $3,845.06                $0.00

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                                                                                                    TOTAL OF ALL ACCOUNTS
                                                                                                                                                    NET             ACCOUNT
                                                                                                                  NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                   XXXXXX0985 - Checking                                                $3,845.06                  $0.00             $3,845.06
                                                                                                                        $3,845.06                  $0.00             $3,845.06

                                                                                                                (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                        transfers)            to debtors)
                                                   Total Allocation Receipts:                          $0.00
                                                   Total Net Deposits:                              $3,845.06
                                                   Total Gross Receipts:                            $3,845.06



Trustee Signature:   /s/ Lisa M. Barbacci   Date: 04/25/2022

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                     600 E Smith Rd.
                     Medina, OH 44256-2666
                     (330) 722-4488
                     barbaccitrustee@gmail.com




                                                                           Page Subtotals:                                             $0.00                $0.00

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